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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                EASTERN DIVISION

                                               )
INTERVARSITY CHRISTIAN                         )         CASE NO. 3:18-CV-00080
FELLOWSHIP/USA, and INTERVARSITY )
GRADUATE CHRISTIAN FELLOWSHIP, )
                                               )
            Plaintiffs,                        )
                                               )
vs.                                            )
                                               )
THE UNIVERSITY OF IOWA; BRUCE                  )         DEFENDANTS’ ANSWER
HARRELD, in his official capacity as           )
President of the University of Iowa and in his )
individual capacity; MELISSA S. SHIVERS, )
in her official capacity as Vice President for )
Student Life and in her individual capacity; )
WILLIAM R. NELSON, in his official             )
capacity as Associate Dean of Student          )
Organizations, and in his individual capacity;)
ANDREW KUTCHER, in his official                )
Capacity as Coordinator for Student            )
Organization Development; and THOMAS )
R. BAKER, in his official capacity as Student)
Misconduct and Title IX Investigator and in )
His individual capacity,                       )
                                               )
            Defendants.                        )
                                               )


       COME NOW the Defendants, The University of Iowa, Bruce Harreld, Melissa Shivers,

William Nelson, Andrew Kutcher and Thomas Baker, and state:

       1.     Paragraph 1 is denied.

       2.     Paragraph 2 is denied for lack of information upon which to form a belief.

       3.     Paragraph 3 is denied for lack of information upon which to form a belief.

       4.     Paragraph 4 is denied.

       5.     Paragraph 5 is denied.


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       6.     Paragraph 6 is denied.

       7.     Paragraph 7 is denied.

       8.     Paragraph 8 is denied.

       9.     Paragraph 9 is denied.

       10.    Paragraph 10 is denied.

       11.    Paragraph 11 is denied.

       12.    Paragraph 12 is denied for lack of information upon which to form a belief.

       13.    Paragraph 13 is admitted.

       14.    Paragraph 14 is admitted.

       15.    Paragraph 15 is admitted.

       16.    Paragraph 16 is denied for lack of information upon which to form a belief.

       17.    Paragraph 17 is admitted as to the extent the University of Iowa is a public

university. Defendant does not understand what Plaintiff means by the term “arm of the state.”

       18.    Paragraph 18 is admitted.

       19.    Paragraph 19 is admitted.

       20.    Paragraph 20 is admitted.

       21.    Paragraph 21 is admitted.

       22.    Paragraph 22 is admitted.

       23.    Paragraph 23 is denied.

       24.    Paragraph 24 is denied for lack of information upon which to form a belief.

       25.    Paragraph 25 is denied for lack of information upon which to form a belief.

       26.    Paragraph 26 is denied for lack of information upon which to form a belief.

       27.    Paragraph 27 is denied for lack of information upon which to form a belief.




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 28.   Paragraph 28 is denied.

 29.   Paragraph 29 is denied.

 30.   Paragraph 30 is denied for lack of information upon which to form a belief.

 31.   Paragraph 31 is denied for lack of information upon which to form a belief.

 32.   Paragraph 32 is denied for lack of information upon which to form a belief.

 33.   Paragraph 33 is denied for lack of information upon which to form a belief.

 34.   Paragraph 34 is denied for lack of information upon which to form a belief.

 35.   Paragraph 35 is denied for lack of information upon which to form a belief.

 36.   Paragraph 36 is denied for lack of information upon which to form a belief.

 37.   Paragraph 37 is denied for lack of information upon which to form a belief.

 38.   Paragraph 38 is admitted.

 39.   Paragraph 39 is denied for lack of information upon which to form a belief.

 40.   Paragraph 40 is denied for lack of information upon which to form a belief.

 41.   Paragraph 41 is denied for lack of information upon which to form a belief.

 42.   Paragraph 42 is denied for lack of information upon which to form a belief.

 43.   Paragraph 43 is denied for lack of information upon which to form a belief.

 44.   Paragraph 44 is denied for lack of information upon which to form a belief.

 45.   Paragraph 45 is denied for lack of information upon which to form a belief.

 46.   Paragraph 46 is denied for lack of information upon which to form a belief.

 47.   Paragraph 47 is denied.

 48.   Paragraph 48 is admitted.

 49.   Paragraph 49 is admitted.

 50.   Paragraph 50 is admitted.




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 51.   Paragraph 51 is admitted.

 52.   Paragraph 52 is admitted.

 53.   Paragraph 53 is denied for lack of information upon which to form a belief.

 54.   Paragraph 54 is denied for lack of information upon which to form a belief.

 55.   Paragraph 55 is denied.

 56.   Paragraph 56 is denied.

 57.   Paragraph 57 is admitted.

 58.   Paragraph 58 is denied.

 59.   Paragraph 59 is denied.

 60.   Paragraph 60 is denied.

 61.   Paragraph 61 is denied.

 62.   Paragraph 62 is admitted.

 63.   Paragraph 63 is denied.

 64.   Paragraph 64 is denied.

 65.   Paragraph 65 is admitted.

 66.   Paragraph 66 is admitted.

 67.   Paragraph 67 is denied.

 68.   Paragraph 68 is denied.

 69.   Paragraph 69 is admitted.

 70.   Paragraph 70 is admitted.

 71.   Paragraph 71 is admitted.

 72.   Paragraph 72 is admitted.

 73.   Paragraph 73 is admitted.




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       74.     Paragraph 74 is denied.

       75.     Paragraph 75 is denied.

       76.     Paragraph 76 is denied for lack of information upon which to form a belief.

       77.     Paragraph 77 is denied for lack of information upon which to form a belief.

       78.     Paragraph 78 is admitted.

       79.     Paragraph 79 is denied.

       80.     Paragraph 80 is denied.

       81.     Paragraph 81 is denied.

       82.     Paragraph 82 is denied.

       83.     Paragraph 83 is denied.

       84.     Paragraph 84 is denied.

       85.     Paragraph 85 is denied.

       86.     Paragraph 86 is denied.

       87.     Paragraph 87 is denied for lack of information upon which to form a belief.

       88.     Paragraph 88 is denied for lack of information upon which to form a belief..

       89.     Paragraph 89 is denied for lack of information upon which to form a belief.

       90.     Paragraph 90 is denied for lack of information upon which to form a belief.

       91.     Paragraph 91 is denied for lack of information upon which to form a belief.

       92.     Paragraph 92 is denied for lack of information upon which to form a belief.

       93.     Paragraph 93 is denied.

       94.     Paragraph 94 is admitted.

       95.     In response to Paragraph 95, the Defendants reincorporate their responses to

paragraphs 1 through 94 of the Complaint as though fully set forth herein.




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       96.    Paragraph 96 is denied.

       97.    Paragraph 97 is denied for lack of information upon which to form a belief.

       98.    Paragraph 98 is denied for lack of information upon which to form a belief.

       99.    Paragraph 99 is denied for lack of information upon which to form a belief.

       100.   Paragraph 100 is denied for lack of information upon which to form a belief.

       101.   Paragraph 101 is denied.

       102.   Paragraph 102 is denied.

       103.   Paragraph 103 is denied.

       104.   In response to Paragraph 104, the Defendants reincorporate their responses to

paragraphs 1 through 103 of the Complaint as though fully set forth herein.

       105.   Paragraph 105 is denied.

       106.   Paragraph 106 is denied for lack of information upon which to form a belief.

       107.   Paragraph 107 is denied for lack of information upon which to form a belief.

       108.   Paragraph 108 is denied for lack of information upon which to form a belief.

       109.   Paragraph 109 is denied for lack of information upon which to form a belief.

       110.   Paragraph 110 is denied.

       111.   Paragraph 111 is denied.

       112.   In response to Paragraph 112, the Defendants reincorporate their responses to

paragraphs 1 through 111 of the Complaint as though fully set forth herein.

       113.   Paragraph 113 is denied.

       114.   Paragraph 114 is denied.

       115.   Paragraph 115 is denied.

       116.   Paragraph 116 is denied.




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       117.   Paragraph 117 is denied.

       118.   Paragraph 118 is denied.

       119.   Paragraph 119 is denied.

       120.   Paragraph 120 is denied.

       121.   In response to Paragraph 121, the Defendants reincorporate their responses to

paragraphs 1 through 120 of the Complaint as though fully set forth herein.

       122.   Paragraph 122 is denied.

       123.   Paragraph 123 is denied for lack of information upon which to form a belief.

       124.   Paragraph 124 is denied.

       125.   Paragraph 125 is denied.

       126.   Paragraph 126 is denied for lack of information upon which to form a belief.

       127.   Paragraph 127 is denied for lack of information upon which to form a belief.

       128.   Paragraph 128 is denied for lack of information upon which to form a belief.

       129.   Paragraph 129 is denied.

       130.   Paragraph 130 is denied.

       131.   Paragraph 131 is denied.

       132.   Paragraph 132 is denied.

       133.   Paragraph 133 is denied.

       134.   In response to Paragraph 134, the Defendants reincorporate their responses to

paragraphs 1 through 133 of the Complaint as though fully set forth herein.

       135.   Paragraph 135 is denied.

       136.   Paragraph 136 is denied.

       137.   Paragraph 137 is denied.




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       138.   Paragraph 138 is denied.

       139.   Paragraph 139 is denied.

       140.   In response to Paragraph 140, the Defendants reincorporate their responses to

paragraphs 1 through 139 of the Complaint as though fully set forth herein.

       141.   Paragraph 141 is denied.

       142.   Paragraph 142 is denied for lack of information upon which to form a belief.

       143.   Paragraph 143 is denied for lack of information upon which to form a belief.

       144.   Paragraph 144 is denied for lack of information upon which to form a belief.

       145.   Paragraph 145 is denied for lack of information upon which to form a belief.

       146.   Paragraph 146 is denied for lack of information upon which to form a belief.

       147.   Paragraph 147 is denied.

       148.   Paragraph 148 is denied.

       149.   In response to Paragraph 149, the Defendants reincorporate their responses to

paragraphs 1 through 148 of the Complaint as though fully set forth herein.

       150.   Paragraph 150 is denied for lack of information upon which to form a belief.

       151.   Paragraph 151 is denied for lack of information upon which to form a belief.

       152.   Paragraph 152 is denied for lack of information upon which to form a belief.

       153.   Paragraph 153 is denied for lack of information upon which to form a belief.

       154.   Paragraph 154 is denied.

       155.   In response to Paragraph 155, the Defendants reincorporate their responses to

paragraphs 1 through 154 of the Complaint as though fully set forth herein.

       156.   Paragraph 156 is denied.

       157.   Paragraph 157 is denied.




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       158.   Paragraph 158 is denied.

       159.   Paragraph 159 is denied.

       160.   In response to Paragraph 160, the Defendants reincorporate their responses to

paragraphs 1 through 159 of the Complaint as though fully set forth herein.

       161.   Paragraph 161 is denied.

       162.   Paragraph 162 is denied.

       163.   Paragraph 163 is denied for lack of information upon which to form a belief.

       164.   Paragraph 164 is denied.

       165.   In response to Paragraph 165, the Defendants reincorporate their responses to

paragraphs 1 through 164 of the Complaint as though fully set forth herein.

       166.   Paragraph 166 is denied.

       167.   Paragraph 167 is denied.

       168.   Paragraph 168 is denied for lack of information upon which to form a belief.

       169.   Paragraph 169 is denied.

       170.   Paragraph 170 is denied.

       171.   Paragraph 171 is denied.

       172.   In response to Paragraph 172, the Defendants reincorporate their responses to

paragraphs 1 through 171 of the Complaint as though fully set forth herein.

       173.   Paragraph 173 is admitted.

       174.   Paragraph 174 is admitted.

       175.   Paragraph 175 is denied.

       176.   Paragraph 176 is denied.

       177.   Paragraph 177 is denied.




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       178.   Paragraph 178 is denied.

       179.   In response to Paragraph 179, the Defendants reincorporate their responses to

paragraphs 1 through 178 of the Complaint as though fully set forth herein.

       180.   Paragraph 180 is admitted.

       181.   Paragraph 181 is denied for lack of information upon which to form a belief.

       182.   Paragraph 182 is denied.

       183.   Paragraph 183 is denied for lack of information upon which to form a belief.

       184.   Paragraph 184 is denied for lack of information upon which to form a belief.

       185.   Paragraph 185 is denied.

       186.   In response to Paragraph 186, the Defendants reincorporate their responses to

paragraphs 1 through 185 of the Complaint as though fully set forth herein.

       187.   Paragraph 187 is admitted.

       188.   Paragraph 188 is denied for lack of information upon which to form a belief.

       189.   Paragraph 189 is denied.

       190.   In response to Paragraph 190, the Defendants reincorporate their responses to

paragraphs 1 through 189 of the Complaint as though fully set forth herein.

       191.   Paragraph 191 is admitted.

       192.   Paragraph 192 is denied for lack of information upon which to form a belief.

       193.   Paragraph 193 is denied for lack of information upon which to form a belief.

       194.   Paragraph 194 is denied.

       195.   Paragraph 195 is denied.

       196.   Paragraph 196 is denied.




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       197.   In response to Paragraph 197, the Defendants reincorporate their responses to

paragraphs 1 through 196 of the Complaint as though fully set forth herein.

       198.   Paragraph 198 is denied.

       199.   Paragraph 199 is denied.

       200.   Paragraph 200 is denied.

       201.   Paragraph 201 is denied.

       202.   Paragraph 202 is denied.

       203.   Paragraph 203 is denied.

       204.   In response to Paragraph 204, the Defendants reincorporate their responses to

paragraphs 1 through 203 of the Complaint as though fully set forth herein.

       205.   Paragraph 205 is denied.

       206.   Paragraph 206 is denied for lack of information upon which to form a belief.

       207.   Paragraph 207 is denied for lack of information upon which to form a belief.

       208.   Paragraph 208 is denied.

       209.   Paragraph 209 is denied.

       210.   Paragraph 210 is denied.

       211.   In response to Paragraph 211, the Defendants reincorporate their responses to

paragraphs 1 through 210 of the Complaint as though fully set forth herein.

       212.   Paragraph 212 is admitted.

       213.   Paragraph 213 is denied.

       214.   Paragraph 214 is denied.

       215.   Paragraph 215 is denied.




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                                  AFFIRMATIVE DEFENSES

        1.     Plaintiffs fail to state a claim upon which relief may be granted.

        2.     Plaintiffs have failed to mitigate their damages.

        3.     Defendants deny that any unlawful activity as asserted by Plaintiffs in their

Complaint occurred.

        4.     Any actions taken by the Defendants were taken for compelling or legitimate state

interests.

        5.     The individual Defendants are entitled to qualified immunity.

        6.     Plaintiffs have failed to exhaust administrative remedies.

        WHEREFORE, Defendants request the Court to dismiss Plaintiffs’ Complaint and

Demand for Jury Trial and assess the costs of this action to Plaintiffs.

                                                             THOMAS J. MILLER
                                                             Attorney General of Iowa

                                                             /s/GEORGE A. CARROLL
                                                             George A. Carroll
                                                             Assistant Attorney General
                                                             Hoover Building, Second Floor
                                                             1305 East Walnut Street
                                                             Des Moines, Iowa 50319
                                                             PHONE: (515) 281-8583
                                                             FAX: (515) 281-7219
                                                             E-MAIL: George.carroll@ag.iowa.gov
                                                             ATTORNEYS FOR DEFENDANTS
Original filed electronically.
Copy electronically served on all parties of record.

                                                                           PROOF OF SERVICE
                                                    The undersigned certifies that the foregoing instrument was served upon
                                                  each of the persons identified as receiving a copy by delivery in the
                                                  following manner on October 19, 2018:

                                                           U.S. Mail                        FAX
                                                           Hand Delivery                   Overnight Courier
                                                           Federal Express                  Other
                                                           ECF System Participant (Electronic Service)

                                                  Signature: /s/Betty Christensen




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